UNITED STATES DISTRICT COURT .__,.., oF
FOR THE DISTRICT OF SOUTH CAROLIN® bo TE
CHARLESTON DIVISION

Jay Connor,
C/A No: 2:25-cv-0553-JD-MGB

Plaintiff,

Vs, REQUEST FOR ENTRY OF DEFAULT
American Legacy Partners, Inc., Jeremy Wilson
Individually, Mark Merritt Individually and John
Does 1-10

Defendants.

Plaintiff requests the Clerk of Court enter default against Defendant American Legacy
Partners, Inc. pursuant to Rule 55 of the Federal Rules of Civil Procedure and Local Rule 55.01.
The Defendant has not filed a responsive pleading to the Complaint in this case. ‘The time for
serving a responsive pleading for the Defendant has passed. This request is supported by an

affidavit attached as an Exhibit to this request.
Respectfully submitted,

Jay C. Connor

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Jay ¢ Pope
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May 15, 2025 Charleston, SC 29401
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